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                          THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


TYERICK WHITNEY                               :    CIVIL ACTION
       v.                                     :    NO. 20-3463
MCDONALD’S CORPORATION                        :


                                      CIVIL JUDGMENT

       AND NOW, this 8th day of June 2021, it appearing that an Arbitration Award was entered

on May 6, 2021, and that 30 days have elapsed from the entry of the award without any party

demanding a trial de novo, it is hereby

       ORDERED, that in accordance with the Arbitration Award and Local Civil Rule 53.2,

Section 6, judgment is entered in favor of Defendant, McDonald’s Corporation, and against

Plaintiff, Tyerick Whitney.


                                                   BY THE COURT:

                                                   /s/Wendy Beetlestone, J.

                                                   _________________________________
                                                   WENDY BEETLESTONE
                                                   United States District Judge
